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 Memorandum
                                                                       4/4/2024
  2:23-cr-524(A)-DMG
                                                                            CDO
                                                    Date:
 Subject:
                                                    April 3, 2024
 United States v. Edgar Martinez-Reyes, et al.,
 First Superseding Indictment
                                                    From:
 To:
                                                    JULIE J. SHEMITZ
 BRIAN KARTH
                                                    Assistant United States Attorney
 Clerk, United States District Court
                                                    Criminal Division
 Central District of California

The above-referenced matter, being filed on March 20, 2024



            x Relates to (1) a matter that was pending in the USAO on or before January 13, 2023,
            the date the Honorable Stephanie S. Christensen resigned from her position as the First
            Assistant United States Attorney for the Central District of California; or (2) a matter in
            which Stephanie S. Christensen was personally involved or about which she was
            personally consulted while employed in the USAO (between April 2008 and July 2023).




                                                      JULIE J. SHEMITZ
                                                      Assistant United States Attorney
